           Case 8:23-bk-10571-SC Doc 70 Filed 05/10/23                                            Entered 05/10/23 21:29:16                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 08, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 10, 2023:
Recip ID                 Recipient Name and Address
db                     + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 10, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 8, 2023 at the address(es) listed below:
Name                               Email Address
Alan I Nahmias
                                   on behalf of Interested Party Courtesy NEF anahmias@mbn.law jdale@mbnlawyers.com

Byron Z Moldo
                                   on behalf of Interested Party Byron Moldo bmoldo@ecjlaw.com amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Garrick A Hollander
                                   on behalf of Creditor Debt Validation Fund II LLC ghollander@wghlawyers.com,
                                   jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander
                                   on behalf of Creditor MC DVI Fund 1 LLC ghollander@wghlawyers.com,
                                   jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander
                                   on behalf of Creditor MC DVI Fund 2 LLC ghollander@wghlawyers.com,
                                   jmartinez@wghlawyers.com;svillegas@wghlawyers.com
          Case 8:23-bk-10571-SC Doc 70 Filed 05/10/23                                    Entered 05/10/23 21:29:16             Desc
                              Imaged Certificate of Notice                               Page 2 of 3
District/off: 0973-8                                          User: admin                                                      Page 2 of 2
Date Rcvd: May 08, 2023                                       Form ID: pdf042                                                 Total Noticed: 1
Joon M Khang
                             on behalf of Debtor The Litigation Practice Group P.C. joon@khanglaw.com

Joon M Khang
                             on behalf of Plaintiff The Litigation Practice Group P.C. joon@khanglaw.com

Paul R Shankman
                             on behalf of Attorney Paul R. Shankman PShankman@fortislaw.com info@fortislaw.com

Queenie K Ng
                             on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Ronald K Brown
                             on behalf of Creditor SDCO Tustin Executive Center Inc. ron@rkbrownlaw.com

Shawn M Christianson
                             on behalf of Interested Party Courtesy NEF cmcintire@buchalter.com schristianson@buchalter.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 12
       Case 8:23-bk-10571-SC Doc 70 Filed 05/10/23                        Entered 05/10/23 21:29:16             Desc
                           Imaged Certificate of Notice                   Page 3 of 3



 1 PETER C. ANDERSON
     UNITED STATES TRUSTEE
 2 KENNETH M. MISKEN                                                         FILED & ENTERED
     ASSISTANT UNITED STATES TRUSTEE
 3 QUEENIE K. NG (State Bar No. 223803)
     TRIAL ATTORNEY                                                                 MAY 08 2023
 4 OFFICE OF THE UNITED STATES TRUSTEE
     411 W. 4th St., Suite 7160                                                CLERK U.S. BANKRUPTCY COURT
 5   Santa Ana, CA 92701                                                       Central District of California
                                                                               BY mccall DEPUTY CLERK
     Phone (714) 338-3400
 6   Fax (714) 338-3421
     Queenie.K.Ng@usdoj.gov
 7
 8
 9                                  UNITED STATES BANKRUPTCY COURT

10                      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

11
     In re:                                                Case Number 8:23-bk-10571-SC
12
     THE LITIGATION PRACTICE GROUP,                        CHAPTER 11
13 P.C.,
                                                           ORDER APPROVING THE U.S. TRUSTE(¶6
14                                                         APPLICATION FOR THE APPOINTMENT
                                                           OF A CHAPTER 11 TRUSTEE
15
                                    Debtor.                [NO HEARING REQUIRED]
16
17            Upon consideration of the Application (the ³Application´) for the Appointment of a Chapter 11

18 Trustee (filed on May 8, 2023, as Bankr. Dkt. # 64) filed by the United States Trustee for Region 16 ³86
19 7UXVWHH´ and good cause appearing therefore:
20            IT IS HEREBY ORDERED THAT WKH867UXVWHH¶VApplication is approved and Richard A.

21 Marshack is appointed as the Chapter 11 Trustee in the above captioned case.
22                   IT IS SO ORDERED.

23                                                       ###
                Date: May 8, 2023
24
25
26
27
28
